   Case: 1:18-cv-01869 Document #: 235 Filed: 02/25/19 Page 1 of 2 PageID #:1066




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

MICHELLE PARKINSON,                                     )   1:18-cv-01869
                                                        )
                 Plaintiff,                             )   Judge Edmond E. Chang
                                                        )   Magistrate Judge Jeffrey Cole
        v.                                              )
                                                        )   JURY DEMAND
PNC BANK, NATIONAL ASSOCIATION, et al.                  )

                            DISCLOSURE OF CORPORATE INTEREST

        Pursuant to Local Rule 3.2 of the Northern District of Illinois, Defendant PNC Bank,

National Association, by its undersigned counsel, hereby provides the following corporate

disclosure statement:

        The PNC Financial Services Group, Inc. is a financial holding company trading under the

symbol “PNC” on the New York Stock Exchange. PNC Bank, National Association is a national

banking association and is an indirect subsidiary of The PNC Financial Services Group, Inc.



Date: February 25, 2019                                 Respectfully submitted,

Gary E. Green (ggreen@clarkhill.com)                    PNC BANK, N.A., WILLIAM S.
ARDC No. 6199484)                                       DEMCHAK, SARAH T.
Pamela J. Leichtling (pleichtling@clarkhill.com)        GREGGERSON, CHRISTINA
ARDC No. 6183213                                        COTTRELL and AMY TOLLER,
CLARK HILL PLC
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219889563.1 19865/329358
   Case: 1:18-cv-01869 Document #: 235 Filed: 02/25/19 Page 2 of 2 PageID #:1066




                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on February 25, 2019, she caused a true

and correct copy of the foregoing Disclosure of Corporate Interest, to be filed and served upon

the following parties by the manner listed.


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